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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                                  §
                                                        §                Case No. 18-32106
                                                   1
ERIN ENERGY CORPORATION, et al.,                        §
                                                        §                Chapter 11
         Debtors.                                       §
                                                        §        (Jointly Administered)


              NOTICE OF FILING FIRST AND FINAL FEE APPLICATION OF
                   OKIN & ADAMS, COUNSEL FOR DEBTORS, FOR
                 THE PERIOD APRIL 26, 2018 THROUGH JULY 12, 2018

         On August 9, 2018, Okin & Adams LLP (“Okin Adams” or “Applicant”), counsel for the

Debtors (the “Debtors”), files its First and Final Fee Application for the period April 26, 2018

through July 12, 2018 (“Application”).

         The fees incurred for the period of April 26, 2018 through July 12, 2018 are $324,689.50

(fees) and $7,599.94 (expenses).           The total fees and expenses sought by Okin Adams are

$332,289.44, for which Okin Adams seeks full and final approval.

         THE APPLICATION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
         YOU. IF YOU OPPOSE THE APPLICATION, YOU SHOULD IMMEDIATELY
         CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND
         THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE
         AND SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE
         YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
         YOU. YOUR RESPONSE MUST STATE WHY THE APPLICATION SHOULD
         NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE
         RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
         OPPOSE THE APPLICATION AND HAVE NOT REACHED AN AGREEMENT,
         YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
         OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING
         AND MAY DECIDE TO GRANT THE RELIEF REQUESTED IN THE
         APPLICATION AT THE HEARING.

        1
          The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The
other Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.
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       REPRESENTED          PARTIES       SHOULD       ACT     THROUGH         THEIR
       ATTORNEY.

       You may request, in writing or by phone, a copy of the Application from Bridget Moore

at the address/phone number for counsel below, and such copy will be provided to you.

DATED: August 15, 2018.

                                                   Respectfully submitted,

                                                   OKIN ADAMS LLP

                                           By:        /s/ Matthew S. Okin
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                                                   ATTORNEYS FOR THE DEBTORS
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                                     CERTIFICATE OF SERVICE

        This will certify that, on August 15, 2018, a true and correct copy of the foregoing pleading
was forwarded via this Court’s CM/ECF notification system to those parties registered for such
service and on August 15, 2018 via first class mail upon the parties listed upon the attached service
list.
                                                         /s/ Matthew S. Okin
                                                             Matthew S. Okin
